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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH EDITION


   ARTHUR BARRY SOTLOFF Individually and as
   Administrator of the Estate of STEVEN JOEL
   SOTLOFF; SHIRLEY GOLDIE PULWER, and
   LAUREN SOTLOFF,                                             Case No. 9:22-cv-80726 (DMM)
                                                               (WDM)
                         Plaintiffs,

          v.

   QATAR CHARITY, a Foreign Non-Profit
   Organization and QATAR NATIONAL BANK
   (Q.P.S.C.), a Foreign Multinational Commercial
   Bank,

                         Defendants.



               JOINT PROPOSED PRETRIAL SCHEDULE AND TRIAL DATE

         Pursuant to the Court’s May 31, 2023 order, ECF No. 72, the parties respectfully submit

  the following Joint Proposed Pre-Trial Schedule and Trial Date.

         The following Joint Proposed Pre-Trial Schedule and Trial Date closely tracks the existing

  pretrial scheduling order in terms of the number of days allotted for each deadline relative to the

  trial date, ECF No. 50, but is based on a September 5, 2024 trial date, as opposed to the October

  4, 2023 trial date contemplated by the existing order. Though the Court stated that it is “inclined

  to set a trial date in or around February 2024,” ECF No. 72, while conferring regarding the Pre-

  Trial Schedule, all concerned recognized that this matter implicates complex discovery issues

  which render a February 2024 trial date a virtual impossibility. The Parties ask the Court to be

  cognizant that this case involves witnesses scattered throughout the globe, whose testimony will

  require efforts beyond the typical. Discovery will involve extensive logistical arrangements,
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  including international travel arrangements, security, obtaining necessary visas, and coordinating

  schedules. Further, Plaintiffs anticipate that many witnesses from whom they will seek discovery

  will insist upon the implementation of safety protocols to ensure their security and safeguard

  against disclosure of their identity, to protect the witnesses and their families against reprisals and

  other threats.

          Complicated discovery issues that involve witnesses outside this jurisdiction, as well as

  document and deposition requests involving international institutions and high-profile individuals,

  necessitate a later trial date.

          Serving document requests on entities outside the jurisdiction involves navigating different

  legal systems, language barriers, and potential objections or disputes. Allowing sufficient time for

  international legal processes, including diplomatic channels and potential objections, helps ensure

  a fair and comprehensive exchange of information.

          For the foregoing reasons the Parties believe additional time beyond February 2024 is

  necessary to ensure a fair and thorough trial.1

          Furthermore, QNB has informed Plaintiffs’ counsel that QNB is considering a motion

  seeking (1) certification for interlocutory appeal, under 28 U.S.C. § 1292(b), of the Court’s May

  30, 2023 Order denying Defendants’ Motions to Dismiss (the “Order”) [D.E. 70], and (2) a stay

  of proceedings in this matter (a) pending resolution of the interlocutory appeal to be requested in

  QNB’s forthcoming motion, or, should the Court decline to certify the Order for appeal, (b)

  pending the Eleventh Circuit’s resolution of the appeal in Schrier v. Qatar Islamic Bank, No. 22-

  13513-AA. QNB’s request to stay proceedings also will seek a stay of all trial and pre-trial



  1
    Co-Counsel for Defendant Qatar National Bank, Edward M. Mullins, already has two trials and an arbitration
  scheduled for February and March 2024, and, as a result, would need reprieve from the Court’s observed February
  2024 date.

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  deadlines. In response to QNB’s declared intent, Plaintiffs request that the Court impose a short

  window of time for QNB to file its motion, which motion certainly should be filed before the

  parties are required to file their Rule 26 initial disclosures.

          Given the foregoing, Plaintiffs, QNB and Qatar Charity join in proposing the below

  schedule in the event the Court denies QNB’s request for a stay, should QNB decide to seek same.

          Counsel for QNB and Plaintiffs discussed QNB’s request for certain initial disclosures

  under the Federal Rule of Civil Procedure 26 and ask the Court to set the date for the Answer to

  the Complaint to 14 days after such initial disclosures are made.


   February 23, 2024                                   Plaintiff(s) shall provide opposing counsel with
                                                       a written list with the names and addresses of all
                                                       expert witnesses intended to be called at trial and
                                                       only those expert witnesses listed shall be
                                                       permitted to testify. Plaintiff(s) shall also furnish
                                                       opposing counsel with expert reports or
                                                       summaries of its expert witnesses’ anticipated
                                                       testimony in accordance with Fed. R. Civ. P.
                                                       26(a)(2). Within the 30-day period following this
                                                       disclosure, Plaintiff(s) shall make their experts
                                                       available for deposition by Defendant(s). The
                                                       experts’ deposition may be conducted without
                                                       further Court order.

   March 22, 2024                                      Defendant(s) shall provide opposing counsel
                                                       with a written list with the names and addresses
                                                       of all expert witnesses intended to be called at
                                                       trial and only those expert witnesses listed shall
                                                       be permitted to testify. Defendant(s) shall also
                                                       furnish opposing counsel with expert reports or
                                                       summaries of its expert witnesses’ anticipated
                                                       testimony in accordance with Fed. R. Civ. P.
                                                       26(a)(2). Within the 30-day period following this
                                                       disclosure, Defendant(s) shall make its experts
                                                       available for deposition by Plaintiff(s). The
                                                       experts’ deposition may be conducted without
                                                       further Court order.

   June 3, 2024                                        Parties shall furnish opposing counsel with a
                                                       written list containing the names and addresses
                                                       of all witnesses intended to be called at trial
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                                               and only those witnesses listed shall be
                                               permitted to testify.
   June 21, 2024                               All discovery shall be completed.
   July 26, 2024                               All Pretrial Motions, including summary
                                               judgment motions and Daubert motions, and
                                               motions in limine shall be filed.
   August 12, 2024                             Joint Pretrial Stipulation shall be filed.
                                               Designations of deposition testimony shall be
                                               made.
   August 26, 2024                             Objections to designations of deposition
                                               testimony shall be filed.
   September 5, 2024                           Trial


  Respectfully submitted,

  Dated: June 6, 2023

   By:    s/Daniel Alvarez Sox   By:    s/Harout Samra__         By: s/George A. Minski, Esq.

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